Case 1:05-cr-10009-.]DT Document 29 Filed 05/16/05 Page 1 of 2 Page|D 27

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IN THE UNITED sTATES DISTRICT coURT 639 §§sz
FOR THE wEsTERN DISTRICT 0F TENNESSEE 49 g
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UNITED sTATES OF AMERICA /`A¢j/.OLpQ“/,;> '<-"¢
"/Y O/J>~Qé')
vs. Criminal No. 1 05-10009- 01”5(§1/6}»

CHAD MICHAEL HEARN

ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY

EXCLUDABLE UNDER SPEEDY TRIAL ACT

Upon oral motion of counsel for the Government, the trial
date of May 12, 2005, was continued due to the unavailability of a
material witness. The ends of justice served by taking such action
outweigh the best interest of the public and the defendant in a
speedy trial.

The Clerk shall RE-SET the TRIAL DATE for MONDAY, JUNE 6l 2005
at 9:30 A.M. The Court finds that the grounds for this continuance
justified excluding the period of May 12, 2005 to June 6, 2005, as
excludable delay under Title 18 U.S.C.§ 3161(h)(3)(A) and
(h) (8) (B) (iv).

IT IS SO ORDERED.

WAM

JANS D. TODD
UN ED sTATEs DIsTRIcT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 1:05-CR-10009 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

Richard L. Finney

HARDEE MARTIN DAUSTER & DONAHOE
213 E. Lafayette

Jackson7 TN 38301

Angela R. Scott

State Attorney General's Oftice
P.O. Box 2825

Jackson7 TN 38302

Honorable J ames Todd
US DISTRICT COURT

